Case 1:25-cv-00039-JJM-PAS   Document 1   Filed 01/28/25   Page 1 of 44 PageID #: 1




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF
  CALIFORNIA; STATE OF ILLINOIS; STATE OF
  RHODE ISLAND; STATE OF NEW JERSEY;
  COMMONWEALTH OF MASSACHUSETTS;
  STATE OF ARIZONA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF             C.A. No. _______________
  DELAWARE; THE DISTRICT OF COLUMBIA;
  STATE OF HAWAI’I; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE      REQUEST FOR EMERGENCY
  OF MINNESOTA; STATE OF NEVADA; STATE       TEMPORARY RESTRAINING
  OF NORTH CAROLINA; STATE OF NEW            ORDER UNDER FEDERAL RULE
  MEXICO; STATE OF OREGON; STATE OF          OF CIVIL PROCEDURE 65(B)
  VERMONT; STATE OF WASHINGTON; STATE
  OF WISCONSIN,

             Plaintiffs,

        v.

  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES; U.S.
  OFFICE OF MANAGEMENT AND BUDGET;
  MATTHEW J. VAETH, IN HIS OFFICIAL
  CAPACITY AS ACTING DIRECTOR OF THE
  U.S. OFFICE OF MANAGEMENT AND
  BUDGET; U.S. DEPARTMENT OF THE
  TREASURY; SCOTT BESSENT, IN HIS
  OFFICIAL CAPACITY AS SECRETARY OF THE
  TREASURY; PATRICIA COLLINS IN HER
  OFFICIAL CAPACITY AS TREASURER OF THE
  U.S.; U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; DOROTHY A. FINK, M.D.,
  IN HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF HEALTH AND HUMAN
  SERVICES; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, IN HER
  OFFICIAL CAPACITY AS ACTING SECRETARY
  OF EDUCATION; U.S. FEDERAL EMERGENCY
  MANAGEMENT AGENCY; CAMERON
  HAMILTON, IN HIS OFFICIAL CAPACITY AS
  ACTING ADMINISTRATOR OF THE U.S.
  FEDERAL EMERGENCY MANAGEMENT

                                      1
Case 1:25-cv-00039-JJM-PAS        Document 1      Filed 01/28/25     Page 2 of 44 PageID #: 2




  AGENCY; U.S. DEPARTMENT OF
  TRANSPORTATION;
  JUDITH KALETA, IN HER OFFICIAL
  CAPACITY AS ACTING SECRETARY OF
  TRANSPORTATION;
  U.S. DEPARTMENT OF LABOR; VINCE
  MICONE, IN HIS OFFICIAL CAPACITY AS
  ACTING SECRETARY OF LABOR; U.S.
  DEPARTMENT OF ENERGY; INGRID KOLB, IN
  HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF THE U.S. DEPARTMENT OF
  ENERGY; U.S. ENVIRONMENTAL
  PROTECTION AGENCY; JAMES PAYNE, IN HIS
  OFFICIAL CAPACITY AS ACTING
  ADMINISTRATOR OF THE U.S.
  ENVIRONMENTAL PROTECTION AGENCY;
  U.S. DEPARTMENT OF HOMELAND
  SECURITY; KRISTI NOEM, IN HER CAPACITY
  AS SECRETARY OF THE U.S. DEPARTMENT
  OF HOMELAND SECURITY; U.S.
  DEPARTMENT OF JUSTICE; JAMES R.
  McHENRY III, IN HIS OFFICIAL CAPACITY AS
  ACTING ATTORNEY GENERAL OF THE U.S.
  DEPARTMENT OF JUSTICE; THE NATIONAL
  SCIENCE FOUNDATION and DR.
  SETHURAMAN PANCHANATHAN, IN HIS
  CAPACITY AS DIRECTOR OF THE NATIONAL
  SCIENCE FOUNDATION,

                Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                              INTRODUCTION

        1.     This action seeks declaratory and injunctive relief and vacatur under the

 Administrative Procedure Act (“APA”) with respect to the Office of Management and Budget’s

 January 27, 2025, Directive for Heads of Executive Departments and Agencies (M-25-13), with

 the subject, “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs”




                                              2
Case 1:25-cv-00039-JJM-PAS            Document 1        Filed 01/28/25      Page 3 of 44 PageID #: 3




 (“OMB Directive”).1 The OMB Directive, set to take effect at 5 pm today but actually being

 implemented even earlier, directs that the head of every executive branch department and agency

 “must temporarily pause all activities related to obligation or disbursement of all Federal

 financial assistance, and other relevant agency activities that may be implicated by” recent

 executive orders, “including, but not limited to, financial assistance for foreign aid,

 nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” OMB

 Directive, at 2 (emphasis in original). It requires all federal agencies to conduct a review of all

 federal financial assistance programs and supporting activities for consistency with current

 presidential policy, including the slate of executive orders directing immigration activities;

 eradicating DEI initiatives from federal programs; eliminating protections for members of the

 LGBTQ community; and removing conservation-focused regulations intended to protect the

 environment. The OMB Directive violates the APA and is unconstitutional. The substantial

 confusion created by the OMB Directive and unlawfully withheld funding pursuant to the OMB

 Directive’s directive will result in immediate and devastating harm to Plaintiff States.

          2.      The OMB Directive would permit the federal government to rescind already

 allocated dollars that have been included in recipient budgets—monies that are otherwise

 necessary for the Plaintiffs to ensure that their residents have quality healthcare, the protections of

 law enforcement, the benefit of safe roads, and assistance in the aftermath of natural disasters,

 among many other key services. Without this funding, Plaintiff States will be unable to provide

 certain essential benefits for residents, pay public employees, satisfy obligations, and carry on the

 important business of government.




 1
     A copy of the OMB Directive is appended to this Complaint as Exhibit A.
                                                   3
Case 1:25-cv-00039-JJM-PAS           Document 1        Filed 01/28/25      Page 4 of 44 PageID #: 4




        3.      There has apparently been a new document circulated by OMB today attempting to

 clarify that the pause is not “across-the-board,” and does not impact funding like Medicaid.

 Regardless of this attempt at clarification, as of the filing of this Complaint, the portal for

 processing Medicaid Disbursement was inoperable across numerous of Plaintiff States for hours.

 The system for drawing down Head Start and the Child Care Development Block Grant Fund were

 also down for some states. Plaintiff States became aware of this document via X (formerly Twitter).

 This directive also does not describe how particular grant programs are treated, and the pause

 appears to continue as to nearly all federal funding. This directive suggests that in some

 circumstances, a pause “could be a day,” but the directive does not provide an end date, and the

 process required by the OMB Directive, including analysis and reports by agencies, demonstrates

 that delays are more likely to be weeks or months, with no way of determining the actual length

 of time. For these reasons, this new document actually increases confusion.

                                  JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 2201(a). Jurisdiction is also proper under the judicial review provisions of the Administrative

 Procedure Act, 5 U.S.C. § 702.

        5.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1).

 Defendants are United States agencies or officers sued in their official capacities. The State of New

 York is a resident of this district, and a substantial part of the events or omissions giving rise to

 this Complaint occurred and continue to occur within the Southern District of New York.




                                                  4
Case 1:25-cv-00039-JJM-PAS            Document 1       Filed 01/28/25      Page 5 of 44 PageID #: 5




                                              PARTIES

     A. Plaintiffs

         6.     The State of New York is a sovereign state in the United States of America. New

 York is represented by Attorney General Letitia James, who is the chief law enforcement officer

 of New York.

         7.     The State of California is a sovereign state in the United States of America.

 California is represented by Attorney General Rob Bonta, who is the chief law enforcement

 officer of California.

         8.     The State of Illinois is a sovereign state in the United States of America. Illinois is

 represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

 Illinois.

         9.     The State of Rhode Island is a sovereign state in the United States of America.

 Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

 enforcement officer of Rhode Island.

         10.    The State of New Jersey is a sovereign state in the United States of America.

 New Jersey is represented by Attorney General Matthew Platkin, who is the chief law

 enforcement officer of New Jersey.

         11.    The Commonwealth of Massachusetts is a sovereign state in the United States of

 America. Massachusetts is represented by Attorney General Andrea Campbell, who is the chief

 law enforcement officer of Massachusetts.

         12.    The State of Arizona is a sovereign state in the United States of America. Arizona

 is represented by Attorney General Kris Mayes, who is the chief law enforcement officer of

 Arizona.



                                                   5
Case 1:25-cv-00039-JJM-PAS          Document 1        Filed 01/28/25      Page 6 of 44 PageID #: 6




        13.     The State of Colorado is a sovereign state in the United States of America.

 Colorado is represented by Attorney General Phil Weiser, who is the chief law enforcement

 officer of Colorado.

        14.     The State of Connecticut is a sovereign state in the United States of America.

 Connecticut is represented by Attorney General William Tong, who is the chief law enforcement

 officer of Connecticut.

        15.     The State of Delaware is a sovereign state in the United States of America.

 Delaware is represented by Attorney General Kathy Jennings, who is the chief law enforcement

 officer of Delaware.

        16.     The District of Columbia is the capitol of the Federal District of the United States.

 The District of Columbia is represented by Attorney General Brian Schwalb.

        17.     The State of Hawai’i is a sovereign state of the United States of America. Hawai’i

 is represented by Attorney General Anne Lopez who is the chief law enforcement officer of

 Hawai’i.

        18.     The State of Maine is a sovereign state of the United States of America. Maine is

 represented by Attorney General Aaron Frey who is the chief law enforcement officer of Maine.

        19.     The State of Maryland is a sovereign state of the United States of America.

 Maryland is represented by Attorney General Anthony G. Brown who is the chief law

 enforcement officer of Maryland.

        20.     The State of Michigan is a sovereign state of the United States of America.

 Michigan is represented by Attorney General Dana Nessell who is the chief law enforcement

 officer of Michigan.




                                                  6
Case 1:25-cv-00039-JJM-PAS          Document 1       Filed 01/28/25     Page 7 of 44 PageID #: 7




        21.     The State of Minnesota is a sovereign state of the United States of America.

 Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

 officer of Minnesota.

        22.     The State of Minnesota is a sovereign state of the United States of America.

 Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

 officer of Minnesota.

        23.     The State of Nevada is a sovereign state of the United States of America. Nevada

 is represented by Attorney General Aaron Ford who is the chief law enforcement officer of

 Nevada.

        24.     The State of North Carolina is a sovereign state of the United States of America.

 North Carolina is represented by Attorney General Jeff Jackson who is the chief law enforcement

 officer of North Carolina.

        25.     The State of New Mexico is a sovereign state of the United States of America.

 New Mexico is represented by Attorney General Raúl Torrez who is the chief law enforcement

 officer of New Mexico.

        26.     The State of Oregon is a sovereign state of the United States of America. Oregon

 is represented by Attorney General Dan Rayfield who is the chief law enforcement officer of

 Oregon.

        27.     The State of Vermont is a sovereign state of the United States of America.

 Vermont is represented by Attorney General Charity Clark who is the chief law enforcement

 officer of Vermont.

        28.     The State of Washington is a sovereign state in the United States of America.

 Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of



                                                 7
Case 1:25-cv-00039-JJM-PAS            Document 1         Filed 01/28/25     Page 8 of 44 PageID #: 8




 Washington is the chief legal adviser to the State and is authorized to act in federal court on

 behalf of the State on matters of public concern.

         29.     The State of Wisconsin is a sovereign state of the United States of America.

 Wisconsin is represented by Attorney General Josh Kaul who is the chief law enforcement officer

 of Wisconsin.

         30.     Plaintiff States each receive billions of dollars annually from the federal

 government, for services that range from funding essential healthcare and free or low-cost school

 meals to low-income children, to providing grants to support law enforcement efforts to combat

 violence against children, elders and other vulnerable groups, to funding the maintenance of

 highways and roads. The OMB Directive jeopardizes all of this funding – funding that Congress

 designated and appropriated for the States.

     B. Defendants

         31.     Defendant Donald J. Trump is the President of the United States. He is responsible

 for the actions and decisions that are being challenged by Plaintiffs in this action and is sued in his

 official capacity.

         32.     Defendant the United States Office of Management and Budget (OMB) is a cabinet

 agency within the executive branch of the United States government. The Office of Management

 and Budget is responsible for oversight of federal agencies’ performance and the administration of

 the federal budget. 31 U.S.C. § 501.

         33.     Defendant Matthew J. Vaeth is the Acting Director of the Office of Management

 and Budget, and that agency’s highest ranking official. He is responsible for overseeing OMB,

 providing direction and leadership to the executive branch on financial management matters by

 establishing financial management policies and requirements, including being responsible for



                                                     8
Case 1:25-cv-00039-JJM-PAS           Document 1        Filed 01/28/25     Page 9 of 44 PageID #: 9




 authoring the OMB Directive and ensuring that its directions are implemented by all federal

 agencies that provide relevant funding and support. He is sued in his official capacity. 31 U.S.C.

 §§ 502, 503; “President Trump Announces Acting Cabinet and Cabinet-Level Positions” (Jan. 20,

 2025) (“Acting Designations EO”).

        34.     Defendant the United States Department of the Treasury is a cabinet agency within

 the executive branch of the United States government. 31 U.S.C. § 301. The Department of the

 Treasury is responsible for ensuring the financial security of the United States.

        35.     Scott Bessent is the Secretary of the Department of the Treasury and responsible

 for the operations of the Department of the Treasury, and management the finances of the United

 States. He is sued in his official capacity. 31 U.S.C. § 301.

        36.     Patricia Collins is the Treasurer of the United States and responsible for the

 management of the finances of the United States. She is sued in her official capacity. 31 U.S.C. §

 301.

        37.     Defendant the United States Department of Health and Human Services is a cabinet

 agency within the executive branch of the United States government. 42 U.S.C. §§ 3501, 3501a.

        38.     Defendant Dorothy A. Fink, M.D., is the Acting Secretary of the Department of

 Health and Human Services, and that agency’s highest ranking official. She is charged with the

 supervision and management of all decisions and actions of that agency. She is sued in her official

 the capacity. 42 U.S.C. §§ 3501a, 3502; Acting Designations EO.

        39.     Defendant the United States Department of Education is a cabinet agency within

 the executive branch of the United States government. 20 U.S.C. § 3411.

        40.     Defendant Denise Carter is the Acting Secretary of the United States Department

 of Education, and that agency’s highest ranking official. She is charged with the supervision and



                                                   9
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25            Page 10 of 44 PageID #:
                                              10



 management of all decisions and actions of that agency. She is sued in her official capacity. 20

 U.S.C. § 3412; Acting Designations EO.

        41.     Defendant United States Federal Emergency Management Agency is part of the

 United States Department of Homeland Security, a cabinet agency within the executive branch of

 the United States government. 6 U.S.C. § 313.

        42.     Defendant Cameron Hamilton is the Acting Administrator of the United States

 Federal Emergency Management Agency, and that agency’s highest ranking official. He is charged

 with the supervision and management of all decisions and actions of that agency. He is sued in his

 official capacity. 6 U.S.C. §§ 313, 314.

        43.     Defendant United States Department of Transportation is a cabinet agency within

 the executive branch of the United States government. 49 U.S.C. § 102.

        44.     Defendant Judith Kaleta is the Acting Secretary of the United States Department of

 Transportation, and that agency’s highest ranking official. She is charged with the supervision and

 management of all decisions and actions of that agency. She is sued in her official capacity. 49

 U.S.C. § 102; Acting Designations EO.

        45.     Defendant United States Department of Labor is a cabinet agency within the

 executive branch of the United States government. 29 U.S.C. § 551.

        46.     Defendant Vincent Micone is the Acting Secretary of the United States Department

 of Labor, and that agency’s highest ranking official. He is charged with the supervision and

 management of all decisions and actions of that agency. He is sued in his official capacity. 29

 U.S.C. § 551; Acting Designations EO.

        47.     Defendant United States Department of Energy is a cabinet agency within the

 executive branch of the United States government. 42 U.S.C. § 7131.



                                                 10
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25           Page 11 of 44 PageID #:
                                              11



        48.      Defendant Ingrid Kolb is the Acting Secretary of the United States Department of

 Energy, and that agency’s highest ranking official. She is charged with the supervision and

 management of all decisions and actions of that agency. She is sued in her official capacity. 42

 U.S.C. § 7131; Acting Designations EO.

        49.      Defendant United States Environmental Protection Agency is an independent

 agency within the executive branch of the United States government.

        50.      Defendant James Payne is the Acting Administrator of the United States

 Environmental Protection Agency, and that agency’s highest ranking official. He is charged with

 the supervision and management of all decisions and actions of that agency. He is sued in his

 official capacity. Acting Designations EO.

        51.      Defendant United States Department of Homeland Security is an independent

 agency within the executive branch of the United States government. 6 U.S.C. § 111.

        52.      Defendant Kristi Noem is the Secretary of the United States Department of

 Homeland Security and that agency’s highest ranking official. She is charged with the supervision

 and management of all decisions and actions of that agency. She is sued in her official capacity. 6

 U.S.C. § 112.

        53.      Defendant United States Department of Justice is an independent agency within the

 executive branch of the United States government. 28 U.S.C. § 501.

        54.      Defendant James R. McHenry III is the Acting Attorney General for the United

 States Department of Justice, and that agency’s highest ranking official. He is charged with the

 supervision and management of all decisions and actions of that agency. He is sued in his official

 capacity. 28 U.S.C. § 503, https://www.whitehouse.gov/presidential-actions/2025/01/designation-

 of-acting-leaders/.



                                                 11
Case 1:25-cv-00039-JJM-PAS               Document 1 Filed 01/28/25       Page 12 of 44 PageID #:
                                                  12



        55.     Defendant the National Science Foundation is an independent agency within the

 executive branch of the United States government.

        56.     Defendant Dr. Sethuraman Panchanathan is the Director of the National Science

 Foundation, and that agency’s highest ranking official. He is charged with the supervision and

 management of all decisions and actions of that agency. He is sued in his official capacity.

                                            ALLEGATIONS

    A. Background

           i.   Executive Orders

        57.     On January 20, 2025, and in the days following, President Trump issued a series of

 executive orders announcing widespread policy changes and indicating, in a non-specific and

 unclear manner, that a number of funding commitments to various federal funding recipients would

 be rescinded. The OMB Directive purports to implement these executive orders. None of these

 orders lawfully or reasonably provides authority for the OMB Directive’s disruption of all federal

 financial assistance, nor could they.

        58.     “Putting America First in International Environmental Agreements” (the

 “Environmental EO”), sets out a policy to “put the interests of the United States and the American

 people first in the development and negotiation of any international agreements with the potential

 to damage or stifle the American economy.” Environmental EO § 2.

        59.      To accomplish its stated policy, the Environmental EO directs the United States

 Ambassador to the United Nations to withdraw the United States as a signatory to the Paris

 Agreement under the United Nations Framework Convention on Climate Change. Id. § 3(a). It

 also mandates the revocation or rescission of U.S. financial commitments made under the United

 Nations Framework Convention on Climate Change, which is the governing body responsible for



                                                  12
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25             Page 13 of 44 PageID #:
                                              13



 implementing the Paris Agreement. See id. § 3(b)-(c). The order additionally rescinds the U.S.

 International Climate Finance Plan and directs federal agencies “to revoke or rescind policies that

 were implemented to advance the” Plan. Id. § 3(e)-(f). Finally, the Environmental EO mandates

 that the “Secretary of State, Secretary of Commerce, and the head of any department or agency

 that plans or coordinates international energy agreements shall henceforth prioritize economic

 efficiency, the promotion of American prosperity, consumer choice, and fiscal restraint in all

 foreign engagements that concern energy policy.” Id. § 3(g).

        60.     Also on January 20, 2025, the President issued an executive order entitled,

 “Protecting the American People Against Invasion” (the “Invasion EO”). This EO asserts that an

 “unprecedented flood of illegal immigration” over the last four years resulted in the entry of people

 who “present significant threats to national security and public safety,” “are engaged in hostile

 activities, including espionage, economic espionage, and preparations for terror-related activities,”

 or have “abused the generosity of the American people.”

        61.     The Invasion EO further asserts that it is the “the policy of the United States to

 achieve the total and efficient enforcement” of its immigration laws and issues a wide-ranging

 series of instructions to various persons and agencies within the federal government.

        62.     Among those directives contained in the Invasion EO is the following:

                Sec. 17. Sanctuary Jurisdictions. The Attorney General and the
                Secretary of Homeland Security shall, to the maximum extent
                possible under law, evaluate and undertake any lawful actions to
                ensure that so-called “sanctuary” jurisdictions, which seek to
                interfere with the lawful exercise of Federal law enforcement
                operations, do not receive access to Federal funds.

        63.     On January 20, 2025, the President also issued an executive order entitled, “Ending

 Radical and Wasteful Government DEI Programs and Preferencing” (the “DEI EO”). This EO

 asserts that the Biden administration “forced illegal and immoral discrimination programs, going


                                                  13
Case 1:25-cv-00039-JJM-PAS              Document 1 Filed 01/28/25          Page 14 of 44 PageID #:
                                                 14



 by the name ‘diversity, equity, and inclusion’ (DEI), into virtually all aspects of the Federal

 Government,” and announces the intent to eliminate any such programs. In addition to ordering

 the review and potential revision of “all existing Federal employment practices, union contracts,

 and training policies or programs to comply with this order” the DEI EO mandates the termination

 of various offices, positions, programs and practices within the federal government, including in

 relation to its grants or contracts.

         64.     The EO also requires all agency, department, or commission heads to provide a

 wide range of information and analyses related to DEI, diversity, equity, inclusion, and

 accessibility, or environmental justice efforts, mandating evaluation of “positions, committees,

 programs, services, activities, budgets, and expenditures,” as well as policies, programs and

 practices. The EO also requires agencies to provide the Director of OMB a list of all “Federal

 grantees who received Federal funding to provide or advance DEI, DEIA, or ‘environmental

 justice’ programs, services, or activities since January 20, 2021.”

         65.     On January 20, 2025, the President also issued an executive order entitled

 “Reevaluating and Realigning United States Foreign Aid” (the “Foreign Aid EO”). This EO asserts

 that “[t]he United States foreign aid industry and bureaucracy are not aligned with American

 interests and in many cases antithetical to American values,” and announces that it is “the policy

 of United States that no further United States foreign assistance shall be disbursed in a manner that

 is not fully aligned with the foreign policy of the President of the United States.” The EO orders a

 90-day pause in all U.S. foreign development assistance “for assessment of programmatic

 efficiencies and consistency with United States foreign policy,” further specifying that “ [a]ll

 department and agency heads with responsibility for United States foreign development assistance

 programs shall immediately pause new obligations and disbursements of development assistance



                                                  14
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25            Page 15 of 44 PageID #:
                                              15



 funds to foreign countries and implementing non-governmental organizations, international

 organizations, and contractors,” pending review of those programs. The Foreign Aid EO further

 instructs department and agency heads, the Secretary of State and the Director of OMB to

 participate in a review of the programs, to culminate in a decision as to whether each program

 should be continued, modified, or ended.

        66.     On January 20, 2025, the President issued an executive order entitled “Unleashing

 American Energy” (the “Energy EO”), which purports to address “burdensome and ideologically

 motivated regulations” that allegedly “have impeded the development of [energy and natural]

 resources, limited the generation of reliable and affordable electricity, reduced job creation, and

 inflicted high energy costs upon our citizens.” To that end, Section 2 of the Energy EO declares

 several policies, including encouraging energy exploration and production on Federal lands and

 waters, producing and processing non-fuel minerals, ensuring an abundant supply of reliable

 energy, and safeguarding the freedom to choose among appliances.

        67.     The Energy EO also directs agencies to temporarily pause certain types of funding.

 Specifically, Section 7 provides that “[a]ll agencies shall immediately pause the disbursement of

 funds appropriated through the Inflation Reduction Act of 2022 (Public Law 117-169) or the

 Infrastructure Investment and Jobs Act (Public Law 117-58), including but not limited to funds for

 electric vehicle charging stations made available through the National Electric Vehicle

 Infrastructure Formula Program and the Charging and Fueling Infrastructure Discretionary Grant

 Program, and shall review their processes, policies, and programs for issuing grants, loans,

 contracts, or any other financial disbursements of such appropriated funds for consistency with the

 law and the policy outlined in section 2 of this order.” Section 7 further provides that within 90

 days (i.e., before April 20, 2025), all agency heads must submit a report detailing their review and



                                                 15
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25               Page 16 of 44 PageID #:
                                               16



 recommendations to “enhance their alignment with the policy set forth in section 2.” According to

 this EO, no funds paused under this section can be disbursed until the Director of OMB and

 Assistant to the President for Economic Policy have determined that such disbursements “are

 consistent with any review recommendations they have chosen to adopt.” Id.

        68.     On January 20, 2025, the President issued an executive order titled “Defending

 Women from Gender Ideology Extremism and Restoring Biological Truth to the Federal

 Government” (the “Gender EO”). This EO purports to redirect federal policy “by using clear and

 accurate language and policies that recognize women are biologically female, and men are

 biologically male.” Gender EO § 1. The EO sets out definitions for, among other things, “male”

 and “female,” and states that these definitions “shall govern all Executive interpretation of and

 application of Federal law and administration policy.” Id. § 2. The term “gender ideology” is

 defined as follows:

                “Gender ideology” replaces the biological category of sex with an
                ever-shifting concept of self-assessed gender identity, permitting the
                false claim that males can identify as and thus become women and
                vice versa, and requiring all institutions of society to regard this false
                claim as true. Gender ideology includes the idea that there is a vast
                spectrum of genders that are disconnected from one’s sex. Gender
                ideology is internally inconsistent, in that it diminishes sex as an
                identifiable or useful category but nevertheless maintains that it is
                possible for a person to be born in the wrong sexed body.
 In addition to mandating that all federal agencies require individuals’ biological sex on government

 documents, the EO directs the separation of biological males from females in prisons and federally

 managed private spaces, begins the process of rescinding regulations that include gender identity

 in community planning and development, and rescinds a slew of federal guidance concerning

 gender identity, including the Attorney General’s interpretation of the Supreme Court’s opinion in

 Bostock v. Clayton County, 590 U.S. 644 (2020).



                                                   16
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25              Page 17 of 44 PageID #:
                                               17



         69.     Additionally, the Gender EO requires that (a) agencies “shall take all necessary

 steps, as permitted by law, to end the Federal funding of gender ideology,” (b) agencies “shall

 assess grant conditions and grantee preferences and ensure grant funds do not promote gender

 ideology,” (c) the Attorney General “shall ensure that no Federal funds are expended for any

 medical procedure, treatment, or drug for the purpose of conforming an inmate’s appearance to

 that of the opposite sex,” and (d) the Attorney General “shall issue guidance to ensure the freedom

 to express the binary nature of sex and the right to single-sex spaces in workplaces and federally

 funded entities covered by the Civil Rights Act of 1964.” See Gender EO§§ 3(e) & (g), 4(c), 5.

         70.     On January 24, 2025, the President issued an executive order titled “Enforcing the

 Hyde Amendment” (“Hyde EO”). This EO states that while Congress has annually enacted the

 Hyde Amendment, which prevents the use of Federal funds for abortion care (with narrow

 exceptions), the Biden administration had disregarded this prohibition and instead “embedd[ed]

 forced taxpayer funding of elective abortions in a wide variety of Federal programs.” The EO goes

 on to revoke two executive orders issued under the Biden Administration. The first, Executive

 Order 14076, Protecting Access to Reproductive Healthcare Services (July 8, 2022), directs the

 heads of various agencies and/or the Attorney General to, inter alia, “protect and expand access to

 abortion care,” “consider actions . . . to ensure the safety of patients, providers . . . and to protect

 the security of clinics,” and “provide technical assistance . . . to States seeking to afford legal

 protection to out-of-State patients and providers who offer legal reproductive healthcare.” The

 second, Executive Order 14079, Securing Access to Reproductive and Other Healthcare Services

 (Aug. 3, 2022), directs the Secretary for Health and Human Services to advance access to

 reproductive healthcare “through Medicaid for patients traveling across State lines for medical

 care” and ensure, including through technical support, “understanding of and compliance with



                                                   17
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 18 of 44 PageID #:
                                               18



 Federal non-discrimination laws [including those related to pregnancy] by healthcare providers

 that receive Federal financial assistance.”

          ii.   The OMB Directive

        71.     On the evening of January 27, State Plaintiffs were alerted through social media to

 a Directive sent by Matthew J. Vaeth, Acting Director of the Office of Management and Budget to

 heads of executive departments and agencies. The Directive, titled “Temporary Pause of Agency

 Grant, Loan, and Other Financial Assistance Programs,” references the seven executive orders

 described above. OMB Directive, at 1-2. It further states that all federal agencies “must complete

 a comprehensive analysis of all of their Federal financial assistance programs to identify programs,

 projects, and activities that may be implicated by any of the President’s executive orders.” Id. at 2.

 Moreover, while this analysis is ongoing, “[i]n the interim, to the extent permissible under

 applicable law, Federal agencies must temporarily pause all activities related to obligation or

 disbursement of all Federal financial assistance, and other relevant agency activities that may be

 implicated by the executive orders, including, but not limited to, financial assistance for foreign

 aid, nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” Id. at

 2 (emphasis in original). Pursuant to the OMB Directive, the temporary pause will take effect

 today, January 28, 2025 at 5:00 PM. Id.

        72.     The OMB Directive appears to require the temporary suspension of disbursement

 and obligation of all Federal financial assistance with few exceptions, and not just funds that may

 be related to “foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the

 green new deal.” Id.; see also Jeff Stein, et al., White House Pauses all Federal Grants, Sparking

 Confusion, Washington Post (Jan. 27, 2025, updated Jan. 28, 2025) (“A person familiar with the

 order, speaking on the condition of anonymity to describe confidential decisions, confirmed the



                                                  18
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25              Page 19 of 44 PageID #:
                                               19



 accuracy of the document and said it applied to all grants.”). Indeed, the OMB Directive states that

 the pause applies to “all activities related to obligation or disbursement of all Federal financial

 assistance,” seemingly separate from its additional application to “other relevant agency activities

 that may be implicated by the executive orders.” Id. at 2 (emphasis added). And the Directive

 expressly states that its list of “other relevant agency activities” that may be implicated by the

 executive orders is merely illustrative and not exhaustive. Id.

         73.     The OMB Directive relies upon a potentially broad definition of affected Federal

 funds. See id. at 1 n.1 (“For the purposes of this Memorandum, Federal financial assistance

 includes: (i) all forms of assistance listed in paragraphs (1) and (2) of the definition of this term at

 2 CFR 200.1; and (ii) assistance received or administered by recipients or subrecipients of any type

 except for assistance received directly by individuals.” (emphasis added)). Paragraphs one and two

 of 2 C.F.R. 200.1 list the following forms of Federal financial assistance: grants, cooperative

 agreements, non-cash contributions or donations of property, direct appropriations, food

 commodities, other financial assistance, loans, loan guarantees, interest subsidies, and insurance.

 This encompasses all grant programs.

         74.     These broad, but not well-defined, categories of financial assistance that may be

 affected by the OMB Directive will be paused indefinitely. There is no time period by which the

 pause must end. Instead, the OMB Directive states that the pause must continue until agencies

 “submit to OMB detailed information on any programs, projects or activities subject to this

 pause[,]” which must happen by February 10, 2025 and OMB “review[s] and provide[s] guidance

 to your agency with respect to the information submitted.” Id. at 2. The OMB Directive provides

 no time frame whatsoever for OMB to conduct review and provide guidance to federal agencies.




                                                   19
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25            Page 20 of 44 PageID #:
                                               20



           75.    In many instances, State agencies have accepted Federal funds after the Federal

 government set forth terms and conditions, which the State had to accept. The Plaintiff States know

 of no grants that had terms consistent with the prohibitions set forth in the OMB Directive (e.g.,

 prohibiting use of funds to promote “woke gender ideology”). The Plaintiff States are also not

 aware of grants that include notice to the States or have any terms that would authorize the Federal

 government to impose a sudden, across-the-board, indefinite freeze of already allocated funds. The

 OMB Directive has now sown chaos and confusion around whether States can continue to receive

 disbursements of funding already obligated to them and whether any further funding will ever be

 obligated. And this uncertainty surrounds all grant programs, without regard to the specific statutes

 that authorize particular grant programs or what regulations or terms govern their award and use.

 For example, the OMB Directive references categories of funding with no clear reference to

 Federal law, including categories like “woke gender ideology,” terms not appearing in any statute

 governing the grant of Federal financial assistance and the “green new deal,” an apparent reference

 to proposed legislation that was never enacted.

           76.    Following the transmittal of the OMB Directive to Federal agencies, OMB

 circulated a document labeled “Instructions for Federal Financial Assistance Program Analysis in

 Support of M-25-13.”2 This document contains a chart listing federal funding lines, with columns

 that ask whether the funding line “promote[s] gender ideology,” “provide[s] Federal funding to

 non-governmental organizations supporting or providing services, either directly or indirectly, to

 removable or illegal aliens,” “relate[s] ‘environmental justice’ programs or ‘equity-related’ grants”

 among other inquiries. The chart appears to be a way of assessing whether the funding programs

 are related to any of the Executive Orders referenced in the OMB Directive.



 2
     A copy of this document is appended to this Complaint as Exhibit B.
                                                   20
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25             Page 21 of 44 PageID #:
                                              21



         iii.   Funding Affected

        77.     A full account of all of the federal grant programs that benefit Plaintiff States is

 impossible here. Grants to the States in FY 2024 surpassed $1 trillion. Rebecca Thiess, Kate

 Watkins & Justin Theal, “Record Federal Grants to States Keep Federal Share of State Budgets

 High,” Pew Charitable Trust (Sep. 10, 2024), https://www.pewtrusts.org/en/research-and-

 analysis/articles/2024/09/10/record-federal-grants-to-states-keep-federal-share-of-state-budgets-

 high. However, there are a number of key funding streams that are most essential and where the

 OMB Directive’s impact is most alarming.

        78.     State health systems rely on federal grant programs in order to provide essential

 services to millions of residents—these programs are necessary to keep health systems functioning.

 State Departments of Health alone receive billions in grant funding. Department of Health and

 Human Services grants support hospital facilities, community health centers, lab testing, addiction

 treatment centers, services for people living with disabilities, and facilities for aging people. In

 New York, the Department of Health alone has nearly $40 billion in Federal funding obligated for

 FY 2025. Hundreds of millions of dollars from these funds support the facilities that provide

 community healthcare, including in rural and other under-resourced areas.

        79.     States likewise rely on federal funds to maintain vital programs for their residents,

 including Medicaid, the single largest federal funding stream to the States—over $600 billion in

 funding in Fiscal Year 2023 designated for reimbursing the States’ cost of providing healthcare to

 their poorest residents. That year, for instance, Illinois received over $21 billion from the federal

 government in Medicaid reimbursements, or over 60% of the amount that it spent on critical health

 services for its eligible residents. Congress has specifically directed the Executive Branch to give




                                                  21
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 22 of 44 PageID #:
                                               22



 the States these funds, but as of this filing, Illinois and other States are prohibited from accessing

 the funds that Congress has allotted them.

        80.     States rely on Federal FEMA funds for disaster relief and management. In the last

 year alone, California has faced devasting fires. President Biden issued a Presidential declaration

 of a major disaster for the State of California on January 8, 2025, FEMA-4865-DR. The declaration

 authorized FEMA and its Administrator, Curtis Brown, to provide assistance to State and local

 governments as well as individuals pursuant to the Stafford Act and its implementing regulations.

 The financial impacts of the fires are staggering. Recent estimates place the total economic losses

 at upwards of $150 billion. The OMB Directive pushes pause on any FEMA grant money not yet

 disbursed, including key support for California as it responds to the fires.

        81.     Similarly, in September 2024, Hurricane Helene inflicted catastrophic damage to

 public and private property across western North Carolina. The most recent estimates indicate the

 total cost of the damage is approximately $60 billion. The federal government has already pledged

 financial support to North Carolina to assist with Helene recovery. On September 26, 2024,

 President Biden issued an emergency declaration, FEMA-3617-EM, for the State of North

 Carolina. That declaration provided, in part, for Public Assistance-Category B, including direct

 federal assistance to the State. Two days later, the President approved an Expedited Major Disaster

 Declaration, FEMA-4827-DR, to ensure North Carolina receives federal disaster relief funds

 expeditiously. And last week, President Trump issued an executive order directing the Secretary

 of Homeland Security, acting through the Administrator of FEMA, and the Administrator of the

 Small Business Administration to “immediately take all necessary and appropriate measures,

 including through direct assistance, loans, and other available means, to expedite roadway

 clearance or rebuilding, including the section of Interstate 40 in North Carolina that remains



                                                  22
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25           Page 23 of 44 PageID #:
                                               23



 closed, and the repair or rebuilding of roads and bridges on private property in areas of North

 Carolina affected by Hurricane Helene.” Executive Order, Emergency Measures To Provide Water

 Resources in California and Improve Disaster Response in Certain Areas (Jan. 24, 2025). North

 Carolina needs this federal assistance to rebuild and revitalize the western region; it cannot cover

 the cost of Helene’s damage alone. Yet the OMB Directive purports to freeze the federal funding

 that should be disbursed pursuant to these federal actions. The purported freeze will substantially

 disrupt recovery efforts in western North Carolina, delaying repairs to homes, businesses, roads,

 bridges, and other critical infrastructure.

         82.     Federal infrastructure funding often provides emergency augmentation of state

 budgeted and planned funds when disaster strikes. To take one current example, Rhode Island

 experienced the unexpected failure of a bridge span carrying a major interstate highway, the

 Washington Bridge, that has a daily traffic volume of 90,000 vehicles and has been closed since

 December 2023. Rhode Island’s Congressional Delegation wrote to Acting Director Vaeth on

 January 27, 2025, inquiring after the $220 million in competitive grant funding allocated for the

 bridge and the balance of the $600 million in competitive grant funding for other critical

 infrastructure, including bridges along I-95, currently awarded to Rhode Island. As of filing, there

 has been no response to clarify that this money would not be impacted.

         83.     In FY 2024, the Federal Edward Byrne JAG grant program gave over $180 million

 in funding to the states to fund essential law enforcement and criminal justice programs, including

 programs that prevent and prosecute hate crimes, address the opioid crisis, and support mental

 health treatment services. Other grant programs administered by the U.S. Department of Justice

 fund initiatives to combat violence against women and internet crimes against children, support

 community policing, and provide services to victims of crimes. The High Intensity Drug



                                                 23
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 24 of 44 PageID #:
                                               24



 Trafficking Areas (HIDTA) program provides assistance to Federal, state, local, and Tribal law

 enforcement agencies operating in areas determined to be critical drug-trafficking regions of the

 United States. An email from Shannon Kelly, the Director of the National HIDTA program, on

 January 28, 2025, indicates that National HIDTA Assistance Center payments to state-based

 HIDTA programs have been paused at OMB’s direction. Pausing these grants imperils state, local,

 and Tribal funding for critical public safety initiatives.

         84.     State education systems also receive tremendous amounts of federal funding. In

 New York, the Department of Education has $2.1 billion obligated for FY 2025. Included in that

 funding are formula grants that local education agencies receive to improve teaching and learning

 in high-poverty schools in particular for children failing, or most at-risk of failing, to meet

 challenging State academic standards. Because this is a formula grant, the allocation is supposed

 to be automatic based on a statutory formula. These grants have served millions of children

 nationwide.

         85.     State institutions of higher education also receive billions of dollars in grants, not

 including direct student aid, that fund essential research in every conceivable area of study.

         86.     Plaintiff States also receive millions of dollars in grants through the Title IV-E

 Foster Care program to provide safe and stable out-of-home care for children in their care until

 plans can be made for permanency.

         87.     For the most recent fiscal year—FY2024, running from July 1, 2023 to June 30,

 2024—Washington received over $27 billion in federal funding. This comprised approximately

 32% of Washington’s total budget for FY2024.

         88.     Approximately $13 billion of this funding comprised of Medicaid reimbursements,

 which is excluded from the definition of “federal financial assistance” under 2 CFR 200.1. The



                                                   24
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25            Page 25 of 44 PageID #:
                                               25



 memo purportedly does not apply to Medicaid reimbursements. However, Washington State is

 presently unable to draw funds for Medicaid reimbursements. Even just yesterday—before the

 OMB Directive was set to take effect—the Washington State Health Care Authority attempted to

 request approximately $160 million from the Department of Health and Human Services, which

 was denied.

        89.      The remaining $14 billion-plus largely comprised the sort of “federal financial

 assistance” that are likely threatened by the OMB Directive.

        90.      To give just a few examples, this includes such critically important programs as:

              a. Highway planning and construction funds, which amounted to over $952 million
                 in FY2024 state expenditures. These funds include the Highway Infrastructure
                 Program, which provides federal funds for road, bridge, ferry, transit capital, and
                 Intelligent Transportation System capital projects for the elimination of hazards and
                 the installation of protective devices at railway-highway crossing;

              b. Child Care and Development Block Grants, which amounted to over $393 million
                 in FY2024 state expenditures. This is the primary federal grant program that allows
                 states to provide childcare assistance to low-income working families with children
                 under age 13;

              c. National School Lunch Program, which amounted to over $361 million in FY2024
                 state expenditures. This program provides nutritious meals to children. Public
                 school districts, private schools, residential child care institutions, and Charter
                 Schools may participate in school meal programs;

              d. Title I education grants, which amounted to over $310 million in FY2024 state
                 expenditures. Title I funds instructional help to children whose academic
                 performance is below average, based on a formula that targets funding to schools
                 and districts with higher percentages of students in poverty;

              e. Special Education grants, which amounted to over $275 million in FY2024 state
                 expenditures. This program serves to meet the excess costs of providing special
                 education and related services to children with disabilities, including support and
                 direct services, technical assistance and personnel preparation, assisting schools in
                 providing positive behavioral interventions and supports, and improving the use of
                 technology in the classroom;

              f. Child support enforcement, which amounted to over $134 million in FY2024 state
                 expenditures;


                                                  25
Case 1:25-cv-00039-JJM-PAS              Document 1 Filed 01/28/25            Page 26 of 44 PageID #:
                                                 26



                g. Allergy and infectious disease research, which amounted to over $121 million in
                   FY2024 state expenditures;

                h. Low-income home energy assistance, which amounted to over $96 million in
                   FY2024 state expenditures. This program helps keep families safe and healthy
                   through initiatives that assist families with energy costs. LIHEAP provides
                   federally funded assistance to reduce the costs associated with home energy bills,
                   energy crises, weatherization, and minor energy-related home repairs;

                i. Substance abuse treatment block grants, which amounted to over $65 million in
                   FY2024 state expenditures. This grant helps plan, carry out, and evaluate activities
                   for the prevention, treatment, and recovery of substance abuse for individuals not
                   covered by Medicaid;

                j. Veterans nursing care funding, which amounted to over $59 million in FY2024 state
                   expenditures; and

                k. Hundreds or thousands of other programs, covering everything from immunizations
                   to clean water to adoption assistance to transit to childcare to global AIDS
                   prevention to National Guard operations to crime victim assistance to immigration
                   and refugee assistance to wildlife restoration, and on and on.

          91.      If these and similar federal funds are suddenly withheld, even temporarily,

 Washington simply does not have funds to cover all of these necessary programs that are currently

 funded through federal dollars. And it most certainly does not have the funds to backfill federal

 dollars while continuing to pay for the many state-funded programs on which its residents rely.

 Thus, pausing or terminating federal funds would necessarily entail cuts—likely drastic cuts—to

 key services provided by state agencies on which Washington residents depend.

          92.      This threat to federal funding comes at a precarious time for Washington. Due to

 factors like inflation, higher projected caseloads in several safety net programs, and revenue

 declines, Washington is facing a forecasted budget deficit of over $12 billion over the next four

 years.

          93.      Washington’s Legislature is currently in session trying to address this budget

 shortfall and pass a budget for the FY2025-2027 biennium. Many Washington state agencies are

 facing budget cuts of between three and six percent to account for the lack of funding.

                                                    26
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 27 of 44 PageID #:
                                               27



        94.     OMB’s direction to withhold additional billions of dollars in federal funding, even

 temporarily, would interfere with critical state programs, drastically worsen Washington’s budget

 shortfall, and make it nearly impossible for state agencies and Washington’s Legislature to

 intelligently prioritize budgeting needs.

        95.     Because the OMB Directive provided effectively no notice to the States, it

 compounded these injuries. The States were unable to prepare for or mitigate the pause in federal

 funding, meaning that the OMB Directive will cause chaos and confusion. Given the less than 24

 hours notice, the States were unable to set aside funding for the anticipated shortfall in response to

 the OMB Directive, work with their legislatures to appropriate funds, or take other similar

 measures to lessen the blow.

        96.     Moreover, by purporting to terminate federal funds on 24 hours’ notice, the OMB

 Directive effectively renders illusory (1) its direction that funding be halted only “to the extent

 permissible by law” and (2) its statement that “OMB may grant exceptions allowing federal

 agencies to issue new awards or take other actions on a case-by-case basis.” The OMB Directive

 provides no time for federal agencies either to make supported requests for case-by-case

 exceptions to the Directive’s directives or to assess adequately whether halting particular grants

 would or would not be permissible under law. Even with more time, it is unclear whether it would

 be possible to assess whether the law permits any funding to be halted in response the President’s

 Executive Orders where the Executive Orders themselves may be contrary to law.

        97.     State agencies administer numerous federal grants and direct grant programs of

 their own—some of which pass through federal funding. State agencies in Plaintiff States do not

 know when or if disbursements and obligations may resume, complicating the important work they

 do to ensure that state residents have access to healthcare services, education support, appropriate



                                                  27
Case 1:25-cv-00039-JJM-PAS             Document 1 Filed 01/28/25            Page 28 of 44 PageID #:
                                                28



 law enforcement, reliable infrastructure, among many other missions. They are also now unable to

 evaluate whether they need to take action under their own sub-agreements or contracts to mitigate

 any downstream effects of the pause.

                                         CAUSES OF ACTION

                                                COUNT I

 (Substantive Violation of the Administrative Procedure Act – Contrary to Law, Ultra Vires)

         98.     Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

         99.     Neither the President nor an agency can take any action that exceeds the scope of

 their constitutional and/or statutory authority.

         100.    No authority—constitutional or otherwise—authorizes the President or the Director

 of OMB to order federal agencies not to enforce duly promulgated regulations, to refrain from

 fulfilling their statutory duties, or to violate federal law.

         101.    Defendants also include “agenc[ies]” under the Administrative Procedure Act

 (“APA”), 5 U.S.C. § 551(1), and the OMB Directive is agency action subject to the APA.

         102.    Under the APA, a court must “hold unlawful and set aside agency action, findings,

 and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

 “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

 §§ 706(2)(B) – (C).

         103.    Defendants may only exercise authority conferred by statute.

         104.    Congress enacted the APA “as a check upon administrators whose zeal might

 otherwise have carried them to excesses not contemplated in legislation creating their offices.”

 Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 391 (2024) (quoting U.S. v. Morton Salt, 338



                                                     28
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25             Page 29 of 44 PageID #:
                                              29



 U.S. 632, 644 (1950)). And in Loper Bright, the Supreme Court in 2024 clarified that historical

 principles of “respect” did not equate to deference—rather, “Section 706 makes clear that agency

 interpretations of statutes—like agency interpretations of the Constitution—are not entitled to

 deference.” Id. at 392 (emphasis in original). Rather, it “remains the responsibility of the court to

 decide whether the law means what the agency says.” Id. (quoting Perez v. Mortgage Bankers

 Ass’n, 575 U.S. 92, 109) (2015) (Scalia, J., concurring in judgment)).

        105.    Defendants have no authority to impose a government-wide pause on federal

 awards without regard to the individual authorizing statutes, regulations, and terms that govern

 each funding stream. This breathtaking freeze of all federal assistance is unauthorized,

 unprecedented, and not entitled to respect or deference by this Court.

        106.    Defendants also cannot refuse to disburse funds appropriated by Congress contrary

 to congressional intent and directive.

        107.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

 declaration that the Defendants lack legal authority to impose the conditions and has, in so doing,

 acted contrary to law and in violation of the APA.

        108.    Plaintiffs are also entitled vacatur of the OMB Directive pursuant to 5 U.S.C. § 706,

 all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent injunction

 preventing Defendants from enforcing the OMB Directive.

                                         COUNT II
   (Substantive Violation of the Administrative Procedure Act – Arbitrary & Capricious –
                                 Against Agency Defendants)

        109.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.




                                                  29
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 30 of 44 PageID #:
                                               30



        110.     Defendants include “agenc[ies]” under the APA, 5 U.S.C. § 551(1), and the OMB

 Directive is agency action subject to review under the APA.

        111.     The APA requires that a court “hold unlawful and set aside agency action, findings,

 and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. § 706(2)(A).

        112.     An agency action is arbitrary or capricious where it is not “reasonable and

 reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). This requires

 that an agency provide “a satisfactory explanation for its action[,] including a rational connection

 between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State

 Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks omitted). An action is

 also arbitrary and capricious if the agency “failed to consider . . . important aspects of the problem”

 before it. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 25 (2020)

 (quoting Motor Vehicle Mfrs., 463 U.S. at 43).

        113.     Because the OMB Directive provides no reasoned basis for pausing the

 disbursement and obligation of trillions of federal dollars and fails to consider the consequences

 of that action, it is arbitrary and capricious. Even if the OMB Directive is targeted at

 implementation of certain Executive Orders, that justification cannot support the breadth of its

 effect. Further, the OMB Directive contains no reasoning as to the impact and chaos it has caused,

 including as to the Plaintiff States and their residents, who rely on federal funding for key programs

 and services.

        114.     The OMB Directive further provides no reasoned basis for refusing to disburse

 funds appropriated by Congress contrary to congressional intent and directive, and thus is arbitrary

 and capricious.



                                                   30
Case 1:25-cv-00039-JJM-PAS           Document 1 Filed 01/28/25             Page 31 of 44 PageID #:
                                              31



         115.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

 declaration that the OMB Directive violates the APA because it is arbitrary and capricious.

         116.    Plaintiffs are also entitled to vacatur of the OMB Directive pursuant to 5 U.S.C. §

 706, all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent

 injunction preventing Defendants from enforcing the OMB Directive.

                                             COUNT III

          (Violation of the Separation of Powers—Usurping the Legislative Function)

         117.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

         118.    Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

 legislative Powers herein granted shall be vested in a Congress of the United States, which shall

 consist of a Senate and a House of Representatives.” U.S. Const. Art. I, Sec. 1. “The Framers

 viewed the legislative power as a special threat to individual liberty, so they divided that power to

 ensure that ‘differences of opinion’ and the ‘jarrings of parties’ would ‘promote deliberation and

 circumspection’ and ‘check excesses in the majority.’” Seila Law LLC v. Consumer Fin. Prot.

 Bureau, 591 U.S. 197, 223 (2020) (quoting The Federalist No. 70, at 475 (A. Hamilton) and citing

 id., No. 51, at 350).

         119.    “As Chief Justice Marshall put it, this means that ‘important subjects . . . must be

 entirely regulated by the legislature itself,’ even if Congress may leave the Executive ‘to act under

 such general provisions to fill up the details.’” West Virginia v. EPA, 597 U.S. 697, 737 (2022)

 (Gorsuch, J., concurring) (quoting Wayman v. Southard, 10 Wheat. 1, 42-43, 6 L.Ed. 253 (1825)).

         120.    The separation of powers doctrine thus represents perhaps the central tenet of our

 constitution, see, e.g., Trump v. United States, 603 U.S. 593, 637-38 (2024); West Virginia v. EPA,



                                                  31
Case 1:25-cv-00039-JJM-PAS              Document 1 Filed 01/28/25         Page 32 of 44 PageID #:
                                                 32



 597 U.S. at 723-24, Seila Law LLC, 591 U.S. at 227, and consistent with these principles, the

 executive acts at the lowest ebb of his constitutional authority and power when he acts contrary to

 the express or implied will of Congress. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

 637 (1952) (Jackson, J., concurring).

         121.    The OMB Directive violates the separation of powers because the executive branch

 has overridden the careful judgements of Congress by refusing to disburse funding for innumerable

 federal grant programs—some of which are even formula grants dictated by precise statutory

 formulas. Pausing funding under the affected programs and permanent refusal to disburse funds

 appropriated by Congress contrary to congressional intent and directive both violate the separation

 of powers.

         122.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

 Directive violates the constitutional principles of separation of powers doctrine, and impermissibly

 arrogates to the executive power that is reserved to Congress.

         123.    Plaintiffs are further entitled to a preliminary and permanent injunction preventing

 the Agency Defendants from enforcing the OMB Directive.

                                               COUNT IV

                                    (Violation of the Spending Clause)

         124.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

         125.    The Spending Clause of the U.S. Constitution provides that “Congress”—not the

 Executive—“shall have Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the

 Debts and provide for the common Defence and general Welfare of the United States . . . .” U.S.

 Const. Art. I, Sec. 8, clause 1.



                                                   32
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25             Page 33 of 44 PageID #:
                                               33



        126.    If funding conditions reach a certain level of coercion, they encroach on state

 sovereignty as guaranteed by the Tenth Amendment by “commandeering . . . reserved State

 power.” State of New York v. U.S. Dep’t of Justice, 951 F.3d 84, 114 (2d Cir. 2020). States must

 also have fair notice of conditions. “Congress’ power to legislate under the spending power is

 broad,” but conditions on funding must be “unambiguous[]” and they cannot “surprise[]

 participating States with post acceptance or ‘retroactive’ conditions.” Pennhurst State Sch. &

 Hosp. v. Halderman, 451 U.S. 1, 17, 25 (1981). Once a State has accepted funds pursuant to a

 federal spending program, the Federal government cannot alter the conditions attached to those

 funds so significantly as to “accomplish[ ] a shift in kind, not merely degree.” Nat’l Fed’n of Indep.

 Bus. v. Sebelius, 567 U.S. 519, 583-84 (2012). Conditions must be “reasonably related to the

 purpose of the expenditure.” New York v. United States, 505 U.S. 144, 172 (1992) (citing Mass. v.

 United States, 435 U.S. 444 (1978)).

        127.    Because the OMB Directive imposes new conditions on federal funding, altering

 the terms upon which grants were obligated and disbursed contrary to Congressional authority, the

 OMB Directive imposes funding conditions that are coercive, retroactive, ambiguous, and

 unrelated to the purpose of myriad grants affected.

        128.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

 Directive violates the Spending Clause.

        129.    Plaintiffs are also entitled to a preliminary and permanent injunction barring the

 Agency Defendants from enforcing the OMB Directive.

                                              COUNT V

            (Violation of the Presentment, Appropriations, and Take Care Clauses)




                                                  33
Case 1:25-cv-00039-JJM-PAS            Document 1 Filed 01/28/25          Page 34 of 44 PageID #:
                                               34



        130.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

        131.    The Presentment Clause provides that “[e]very Bill which shall have passed the

 House of Representatives and the Senate, shall, before it become a Law, be presented to the

 President of the United States.” U.S. Const. Art. I, Sec. 7, Clause 2; INS v. Chadha, 462 U.S. 919,

 946 (1983). “Our Constitution gives Congress control over the public fisc.” Consumer Fin. Prot.

 Bureau v. Cmty. Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416, 420 (2024); see also id. at 431 (“By

 the time of the Constitutional Convention, the principle of legislative supremacy over fiscal

 matters engendered little debate and created no disagreement. It was uncontroversial that the

 powers to raise and disburse public money would reside in the Legislative Branch.”). The

 Appropriations Clause provides that “[n]o Money shall be drawn from the Treasury, but in

 Consequence of Appropriations made by Law.” U.S. Const. Art. I, Sec. 7. The Appropriations

 Clause is a “straightforward and explicit command” that “no money can be paid out of the Treasury

 unless it has been appropriated by an act of Congress.” Office of Pers. Mgmt. v. Richmond, 496

 U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S. 308, 321 (1937)).

 The Take Care Clause provides that the executive must “take Care that the Laws be faithfully

 executed. . . .” U.S. Const. Art. II, Sec. 3, Clause 3.

        132.    No provision of the United States Constitution authorizes the executive to enact,

 amend, or repeal statutes, including appropriations approved by Congress and signed into law by

 the President. Clinton v. City of New York, 524 U.S. 417, 438 (1998).

        133.    The executive cannot unilaterally amend or cancel appropriations that Congress has

 duly enacted. See Train v. City of New York, 420 U.S. 35, 38, 44 (1975); In re Aiken Cnty., 725

 F.3d 255, 261 n.1 (D.C. Cir. 2013); 2 U.S.C. § 683 (requiring the President to transmit proposed



                                                   34
Case 1:25-cv-00039-JJM-PAS               Document 1 Filed 01/28/25          Page 35 of 44 PageID #:
                                                  35



 rescissions of budget authority to Congress for approval and requiring “any amount of budget

 authority proposed to be rescinded” to be made available for obligation unless and until Congress

 approves the rescission within 45 days).

            134.   The OMB Directive constitutes a refusal to spend money appropriated by Congress,

 in violation of the executive’s constitutional authority to administer the law.

            135.   Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the OMB

 Directive violates the Presentment, Appropriations, and Take care Clauses of the U.S. Constitution.

            136.   Plaintiffs are further entitled to a preliminary and permanent injunction preventing

 the Agency Defendants from enforcing the OMB Directive.


                                         PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that this Court:

        i.     Issue a judicial declaration that the OMB Directive is unconstitutional and/or

               unlawful because it violates the APA and the Constitution;

      ii.      Vacate the OMB Directive and issue all necessary and appropriate process to

               postpone the effective date of the OMB Directive or to preserve status or rights

               pending conclusion of the review proceedings under 5 U.S.C. § 705;

      iii.     Temporarily restrain and enjoin the Agency Defendants from implementing or

               enforcing the OMB Directive, pending further orders from this Court;

      iv.      Pursuant to Federal Rule of Civil Procedure 65(b)(2), set an expedited hearing within

               fourteen (14) days to determine whether the Temporary Restraining Order should be

               extended;

       v.      Pursuant to 5 U.S.C. § 705, postpone the effective date of the OMB Directive, so as

               to preserve the status and rights of the Plaintiff States;

                                                     35
Case 1:25-cv-00039-JJM-PAS          Document 1 Filed 01/28/25            Page 36 of 44 PageID #:
                                             36



     vi.    Pursuant to 5 U.S.C. § 706, vacate the OMB Directive;

    vii.    Preliminarily and permanently enjoin the Agency Defendants from enforcing the

            OMB Directive;

    viii.   Issue a writ of mandamus compelling Defendants to immediately cease implementing

            the OMB Directive without further delay;

     ix.    Award the Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

            fees, pursuant to 28 U.S.C. § 2412; and

      x.    Grant other such relief as this Court may deem proper.




                                      Respectfully submitted,

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                                                 36
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25          Page 37 of 44 PageID #:
                                      37



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                                      37
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25         Page 38 of 44 PageID #:
                                      38



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                                      38
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25       Page 39 of 44 PageID #:
                                      39



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                                      39
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25        Page 40 of 44 PageID #:
                                      40



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                                      40
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25        Page 41 of 44 PageID #:
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                                      41
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25        Page 42 of 44 PageID #:
                                      42




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                                      42
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25         Page 43 of 44 PageID #:
                                      43




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                                      43
Case 1:25-cv-00039-JJM-PAS   Document 1 Filed 01/28/25          Page 44 of 44 PageID #:
                                      44




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                                      44
